            Case:
ILND 450 (Rev.        1:14-cv-09178
               10/13) Judgment                Document
                               in a Civil Action         #: 184 Filed: 03/26/18 Page 1 of 1 PageID #:17297

                                    IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE
                                       NORTHERN DISTRICT OF ILLINOIS

Jesse Mitchell,

Plaintiff(s),
                                                                  Case No. 14 C 9178
v.                                                                Judge Matthew F. Kennelly

AbbVie, Inc and Abbott Laboratories, Inc.,

Defendant(s).
                                             JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                  in favor of plaintiff(s)
                  and against defendant(s)
                  in the amount of $       ,

                          which        includes       pre–judgment interest.
                                       does not include pre–judgment interest.

        Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

        Plaintiff(s) shall recover costs from defendant(s).


                  in favor of defendant(s)
                  and against plaintiff(s)
.
        Defendant(s) shall recover costs from plaintiff(s).


                 other: Judgment entered in favor of defendants AbbVie and Abbott Laboratories on the first
claim, strict liability; in favor of plaintiff Jesse Mitchell on the second claim, negligence; and in favor of
defendants AbbVie and Abbott Laboratories on the third claim, fraudulent misrepresentation. Plaintiff Jesse
Mitchell is awarded compensatory damages as follows: Non-economic damages in the amount of $50,000.00;
economic damages in the amount of $150,000.00; and punitive damages in the amount of $3,000,000.

This action was (check one):

     tried by a jury with Judge Matthew F. Kennelly presiding, and the jury has rendered a verdict.
     tried by Judge     without a jury and the above decision was reached.
     decided by Judge       on a motion


Date: 3/26/2018                                               Thomas G. Bruton, Clerk of Court

                                                               Pamela J. Geringer, Deputy Clerk
